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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

ROCHELLE GARZA, as guardian ad litem to   )
unaccompanied minor J.D., on behalf of    )
herself and others similarly situated;    )
JANE ROE and JANE MOE on behalf of        )
themselves and others similarly situated; )
and JANE POE;                             )
                                          )
                  Plaintiffs,             )                 No. 17-cv-02122-TSC
                                          )
v.                                        )
                                          )
ERIC D. HARGAN, et al.,                   )
                                          )
                  Defendants.             )
                                          )
_________________________________________ )

  DEFENDANTS’ NOTICE OF ANTICIPATED FILING SECOND SUPPLEMENTAL
                DECLARATION OF JONATHAN WHITE

       In light of developments today, Defendants intend to file in the next few hours a Second

Supplemental Declaration of Jonathan White in support of their January 12, 2018 Opposition to

Plaintiffs’ Application for a Temporary Restraining Order (ECF No. 108). That declaration will

indicate that we anticipate Jane Moe to be reunified with a sponsor tomorrow, and provide

details on that reunification. We intend to file the declaration as soon as Mr. White becomes

available to execute the declaration.



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DATED: January 13, 2018                  Respectfully submitted,

                                         CHAD A. READLER
                                         Acting Assistant Attorney General
                                         Civil Division

                                         AUGUST E. FLENTJE
                                         Special Counsel
                                         Office of Immigration Litigation

                                         ERNESTO H. MOLINA
                                         Deputy Director
                                         Office of Immigration Litigation

                                    BY: /s/ Sabatino F. leo
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                                         Attorneys for Defendants




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                                CERTIFICATE OF SERVICE

       I certify that on January 13, 2018, I electronically filed the foregoing with the Clerk of

Court by using the CM/ECF system which will deliver a copy to all counsel of record.



                                                     /s/ Sabatino F. Leo
                                                     SABATINO F. LEO
                                                     Trial Attorney
                                                     Office of Immigration Litigation




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